      Case 1:21-cr-00158-RC Document 10 Filed 04/02/21 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )
                              )
                        v.    )
                              )            Criminal No. 1:21-CR-00158
Kyle Fitzsimons               )
       Defendant              )            The Honorable Ketanji Brown Jackson
______________________________)

                            APPEARANCE OF COUNSEL

       Please note the appearance of Gregory T. Hunter, Esquire, as Counsel for the

Defendant in the aforementioned case.



                                                   Respectfully Submitted,

                                                   ___________/S/________________
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       Case 1:21-cr-00158-RC Document 10 Filed 04/02/21 Page 2 of 2




                              CERTIFICATE OF SERVICE

       I certify that on the 2nd day of April, 2021, I will electronically file the foregoing
with the Clerk of the Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

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